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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ABIRA MEDICAL LABORATORIES, LLC                 :          CIVIL ACTION
d/b/a GENESIS DIAGNOSTICS                       :
                                                :
       v.                                       :
                                                :
SIERRA HEALTH & LIFE INSURANCE                  :
COMPANY, INC.                                   :          NO. 24-1979

                                            ORDER

       AND NOW, this 9th day of December, 2024, upon consideration of Defendant’s “Motion

to Compel Arbitration” (Docket No. 8), and all documents filed in connection therewith, IT IS

HEREBY ORDERED as follows:

       1. The Motion to Compel Arbitration is GRANTED.

       2. The parties shall submit this matter to arbitration pursuant to the Healthcare Payor

            Provider Arbitration Rules of the American Arbitration Association.

       3. This matter is STAYED pursuant to 9 U.S.C. § 3 pending arbitration.


                                                    BY THE COURT:

                                                    /s/ John R. Padova, J.


                                                    John R. Padova, J.
